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                                               #:551


1     Marc Wolstenholme
      5 Shetland Close
2
      Coventry, England CV5 7LS
3     Telephone: 044 7827964404
      Email: marc@mvwolf-fiction.co.uk
4     Plaintiff in Pro Per
5

6                                UNITED STATES DISTRICT COURT

7                               CENTRAL DISTRICT OF CALIFORNIA
8

9
      MARC WOLSTENHOLME,                             CASE NO. 2:25-CV-00053-FMO-BFM
10
                   Plaintiff,                        HON. FERNANDO M. OLGUIN
11
      vs.                                            PLAINTIFF’S SECOND AMENDED
12
                                                     COMPLAINT (SAC)
13    RIOT GAMES, INC.,

14                 Defendant
                                                     DATE: FEBRUARY 27, 2025
15                                                   TIME: 10:00 A.M.
                                                     CRTRM: 6D
16

17                                                   COMPLAINT FILED: OCTOBER 31, 2024
18                                                   DEFAULT JUDGMENT FILED JANUARY
                                                     07, 2025:
19                                                   COMPLAINT - SHORT FORM: JANUARY
                                                     01, 2025
20                                                   AMENDED COMPLAINT FILED:
21                                                   JANUARY 04, 2025- ACCEPTED:

22                                                   JANUARY 29, 2025
      Dated this: JANUARY 29, 2025
23

24

25                                                [MARC WOLSTENHOLME]
26

27                                               1
                   PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
28
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1                     I.      INTRODUCTION TO CASE (bad faith background)
2
                      Plaintiff, Marc Wolstenholme ("Plaintiff"), respectfully submits this Opposition to
3
      Defendant Riot Games, Inc.'s ("Defendant") second Motion to Dismiss (27 January 2025) under
4
      Rule 12(b)(6) and Motion for a More Definite Statement under Rule 12(e). Defendant's motion
5

6     erroneously asserts that Plaintiff’s Complaint fails to meet the pleading standards under the

7     Federal Rules of Civil Procedure. Contrary to Defendant’s arguments, Plaintiff’s Complaint
8
      sufficiently alleges facts that, if true, state claims for relief under the Copyright Act, California’s
9
      Unfair Competition Law, and other causes of action. Additionally, the Complaint provides the
10
      Defendant with sufficient notice to prepare an appropriate defense.
11

12                    The Defendant threatened to have the case kicked out before any hearings, then

13    engaged in behaviors alleged to be deliberate attempts to circumnavigate the law and to frustrate
14
      the plaintiff and to create legal technicalities, after already being informed of the stress and
15
      emotional harm these behaviors are causing. The Defendant has already filed a Motion to
16
      Dismiss (January 3, 2025) which dictated the Plaintiff’s response, as the Plaintiff filed a first
17

18    amended complaint in response to this Motion to Dismiss. This is alleged to have been a bad

19    faith and unethical tactic to coercively control the filing of information and the narrative of these
20
      cases. Moreover, The Plaintiff has been complaining about these behaviors and bad faith
21
      negotiations across many filings and correspondence.
22
                      The Defendant remains unwilling to answer any of the Plaintiff’s requests or
23

24    questions or pre-litigation discovery at all. Indeed, the conferences have been one-sided telling

25

26

27                                                      2
                      PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
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1     the plaintiff the they will have the case kicked out with motions to dismiss, and ignoring the
2
      plaintiff’s offers to address the purported deficiencies.
3
                     Plaintiff has exchanged many communications with the Defendant, providing
4
      upwards of 1000 strands of evidence supporting his allegations. These communications,
5

6     spanning months, gave Defendant ample opportunity to understand the Plaintiff’s complaints.

7     Furthermore, Defendant has failed to serve any response or notices to the Plaintiff and failed to
8
      file a proper response to the court summons. Plaintiff also filed an amendment to the complaint,
9
      which has been accepted by the district court and served on the Defendant prior to the Motion to
10
      Dismiss being filed with the federal court. Yet they still filed it. As for the second Motion to
11

12    Dismiss (27 January 2025), the Plaintiff had already addressed all of these purported deficiencies

13    in a preemptive report addressing the concerns, tiled PLAINTIFF’S OPPOSITION TO
14
      DEFENDANT’S MOTION TO DISMISS - pre-emptive. This was filed and accepted by the
15
      court before the second Motion to Dismiss was filed. This is bad faith, manipulative and bullying
16
      of a party who is clearly more vulnerable, and has already expressed his concerns of being
17

18    emotionally troubled by these behaviors.

19                   Plaintiff alleges this is a continuation of the bad faith negotiations and threats
20
      against a vulnerable adult. Plaintiff argues that the Defendant’s Motion to Dismiss is not an
21
      honest reflection of the Plaintiff’s efforts to engage with pretrial discovery as the primary means
22
      for clarifying claims. Plaintiff further alleges that the Defendant has refused to cooperate and
23

24    obstructed his attempts to advance the complaints and engage in pretrial discovery. Defendant’s

25

26

27                                                      3
                     PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
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1     motion lacks merit as it misrepresents Plaintiff’s efforts and disregards the case management
2
      hearing already set with the district court.
3
          INTRODUCTION TO PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
4

5

6                    Plaintiff Marc Wolstenholme ("Plaintiff"), a UK resident and the owner of the

7     copyrighted material known as the M.W. Wolf catalogue of fiction, brings this action against
8
      Defendant Riot Games, Inc. ("Defendant"), a California-based video game development
9
      company.
10
                     Plaintiff owns the exclusive copyright to "Bloodborg: The Harvest" by M.W.
11

12    Wolf, created between 2018-2019.

13

14
                     Plaintiff alleges that Defendant infringed his copyright by using the manuscript of
15
      "Bloodborg: The Harvest" submitted to Riot Forge, Curtis Brown Group, and others in 2019 and
16
      2020 to create the animated series ARCANE and its spin-offs including but not limited to, The
17

18    Blood Sweat and Tears music video, and Welcome to Noxus - Bite Marks (ft. TEYA), 2025

19    Season 1 Cinematic - League of Legends. The Plaintiff further alleged that the whole of Riot
20
      Games’ lore and backstories have been retconned to align with the infringed upon narratives,
21
      thus the Infringement is now deeply intwined into all of Riot Games’ products, games and
22
      shows.
23

24                   Plaintiff asserts that Defendant's animated show and promotional materials derive

25    narrative elements, themes, aesthetics, and character arcs from Plaintiff's copyrighted work.
26

27                                                    4
                     PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
28
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1

2
                     Plaintiff seeks damages for the harm suffered, statutory damages, and an
3
      injunction to prevent further infringement.
4
                     Cases
5

6                    (1) COPYRIGHT INFRINGEMENT (17 U.S.C. § 501)

7                    (2) VICARIOUS COPYRIGHT INFRINGEMENT (17 U.S.C. § 501)
8
                     (3) UNFAIR COMPETITION (17 U.S.C. § 501)
9
                     (4) INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (IIED):
10
      CALIFORNIA CIVIL CODE § 1708.ACTION FILED DATE: OCTOBER 31, 2024 - 3
11

12

13                   JURISDICTION AND VENUE
14
                     5. This Court has jurisdiction pursuant to 28 U.S.C. § 1338(a) as this matter arises
15
      under the U.S. Copyright Act (17 U.S.C. § 501).
16
                     6. Venue is proper in this Court pursuant to 28 U.S.C. § 1400(a) as Defendant
17

18    Riot Games, Inc. maintains its principal place of business in Los Angeles County, California.

19

20
                     PARTIES
21
                     7. Plaintiff Marc Wolstenholme is a UK resident and owner of the M.W. Wolf
22
      catalogue of fiction.
23

24                   8. Defendant Riot Games, Inc. is a video game development company

25    headquartered in Los Angeles, California.
26

27                                                    5
                     PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
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1                    FACTUAL ALLEGATIONS
2

3
                     9. Plaintiff created the work "Bloodborg: The Harvest" between 2018 and 2019
4
      and holds the exclusive copyright to this literary work.
5

6

7                    10. In early 2020, Plaintiff submitted the manuscript of "Bloodborg: The Harvest"
8
      to Riot Forge, Curtis Brown Group, and others.
9

10
                     11. Plaintiff alleges that Defendant Riot Games unlawfully copied significant
11

12    portions of his manuscript to create the animated series ARCANE, which premiered on Netflix

13    in November 2021.
14

15
                     12. Plaintiff asserts that characters, plotlines, thematic elements, and narrative
16
      structure in ARCANE mirror those found in "Bloodborg: The Harvest."
17

18

19                   13. Plaintiff further alleges that the official music video "Blood Sweat & Tears"
20
      by Riot Games, featuring Sheryl Lee Ralph, derives directly from elements of "Bloodborg: The
21
      Harvest."
22
                     14. Defendant continues to profit from ARCANE and related products despite
23

24    being notified of the alleged infringement in November 2021.

25

26

27                                                     6
                     PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
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1                     15. Defendant's legal representatives responded with the threat of extensive legal
2
      fees, causing Plaintiff emotional distress and further exacerbating his existing complex PTSD.
3

4
                      FIRST CAUSE OF ACTION
5

6                     (Copyright Infringement – 17 U.S.C. § 501)

7

8
                      16. Plaintiff incorporates paragraphs 1 through 15 by reference.
9
                      17. Defendant, without authorization, copied, distributed, and publicly displayed
10
      Plaintiff's copyrighted material. Furthermore, the showrunners accepted awards for this infringed
11

12    material.

13                    18. Defendant's unauthorized use of Plaintiff's work constitutes direct copyright
14
      infringement.
15
                      19. Plaintiff has suffered damages as a direct result of Defendant's infringement
16
      and is entitled to statutory damages and injunctive relief under 17 U.S.C. § 504.
17

18

19                    SECOND CAUSE OF ACTION
20
                      (Vicarious Copyright Infringement – 17 U.S.C. § 501)
21

22
                      20. Plaintiff incorporates paragraphs 1 through 19 by reference.
23

24

25

26

27                                                     7
                      PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
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1                     21. Defendant benefited financially from the unauthorized use of Plaintiff's
2
      copyrighted material through partnerships with Netflix, Fortiche Production SAS, and others.
3
                      22. Defendant had the ability to control and supervise the infringing conduct but
4
      failed to prevent it.
5

6                     23. Plaintiff seeks statutory damages and injunctive relief to prevent further

7     vicarious infringement.
8

9
                      THIRD CAUSE OF ACTION
10
                      (Unfair Competition – Cal. Bus. & Prof. Code § 17200)
11

12

13                    24. Plaintiff incorporates paragraphs 1 through 23 by reference.
14
                      25. Defendant engaged in unlawful and unfair business practices by
15
      misappropriating Plaintiff's copyrighted material for commercial gain.
16
                      26. Defendant's conduct caused Plaintiff significant financial harm and
17

18    reputational damage.

19                    27. Plaintiff seeks restitution, disgorgement of profits, and injunctive relief to
20
      prevent further unfair competition.
21

22
                      FOURTH CAUSE OF ACTION
23

24                    (Intentional Infliction of Emotional Distress – Cal. Civ. Code § 1708)

25

26

27                                                      8
                      PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
28
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1                    28. Plaintiff incorporates paragraphs 1 through 27 by reference.
2
                     29. Defendant's legal representatives threatened Plaintiff with excessive legal fees
3
      and dismissal of his claims, knowing Plaintiff was a vulnerable adult with complex PTSD.
4
                     30. Defendant's conduct was extreme, outrageous, and beyond the bounds of
5

6     decency, causing Plaintiff severe emotional distress.

7

8
                     31. Infringed work is trauma writing, stealing one’s trauma writing, especially
9
      given the content of it, and misusing it, and airing it for all to see, in a manner it wasn’t intended,
10
      is akin to stealing one’s therapy and medication and causing relentless and continued triggering.
11

12    Moreover, it is alleged that Riot Games has added Gaslighting into the actual show. Furthermore,

13    the endless threats to have the cases kicked out before any hearing, the complete disregard for
14
      the law and for the plaintiff’s hardship and the unwillingness to take responsibility for their
15
      actions, along with the endless legal technicalities and diversions, all adds to the emotional and
16
      psychological toll and pain caused. As does the needless misrepresentation of the plaintiff’s
17

18    complaints.

19

20

21

22

23

24

25

26

27                                                      9
                     PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
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1                 Plaintiff seeks compensatory and punitive damages for the emotional harm
2
      suffered.
3

4
                  PRAYER FOR RELIEF
5

6                 WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

7                 Statutory damages for copyright infringement pursuant to 17 U.S.C. § 504.
8
                  Injunctive relief to prevent further infringement.
9
                  Disgorgement of profits and restitution under Cal. Bus. & Prof. Code § 17200.
10
                  Compensatory and punitive damages for emotional distress.
11

12                Reimbursement of legal fees and costs.

13                Any other relief deemed just and proper by the Court.
14

15

16
                  The Plaintiff, Marc Wolstenholme, M.W. Wolf.
17

18                Date: JANUARY 29, 2025

19                Signed:
20

21

22

23

24

25

26

27                                                10
                  PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
28
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1                    1. Pre-Emptive defense against DEFENDANT’S MOTION TO DISMISS
2
                        PURSUANT TO AMENDED COMPLAINT UNDER FEDERAL RULE
3
                        OF CIVIL PROCEDURE 12(B)(6) FOR FAILURE TO STATE A
4
                        CLAIM.
5

6                    Originally filed- JANUARY 17, 2025.

7

8
                        On January 16, 2025, 19:20 (GMT), Defendant emailed the Plaintiff, the
9
                        “Riot intends to move to dismiss this Amended Complaint under Federal Rule
10
                        of Civil Procedure 12(b)(6) for failure to state a claim.”
11

12

13                   THE FULL EMAIL STATED:
14

15
                     Rule 7-3 Meet and Confer, Case 2:25-cv-00053-FMO-BFM
16
                     Mr. Wolstenholme,
17

18                   We have received a copy of your Amended Complaint, which was filed with the

19    federal court on January 13. A copy of the Notice of Electronic Filing is attached for your
20
      reference. In light of the Amended Complaint, Riot’s original motion to dismiss is moot (see
21
      attached order from the Court).
22
                     Riot intends to move to dismiss this Amended Complaint under Federal Rule of
23

24    Civil Procedure 12(b)(6) for failure to state a claim. As to your two copyright claims, you have

25    not alleged a plausible claim for relief, including because you have not included any factual
26

27                                                   11
                     PLAINTIFF’S SECOND AMENDED COMPLAINT (SAC)
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1     allegations regarding what protected expression of your work has been infringed by Riot and
2
      have not included sufficient allegations regarding access (i.e., how you contend Riot received a
3
      copy of your work), among other deficiencies. As to your two state law claims, they fail to state
4
      a claim for relief for a few reasons. Your claim for unfair competition is preempted by the U.S.
5

6     Copyright Act. Your claim for intentional infliction of emotional distress, as far as we

7     understand it, is time barred (outside the statute of limitations), barred by the litigation
8
      privilege, and otherwise fails to allege a plausible claim for relief.
9
                     I am happy to discuss these issues further in a telephone call. Please note that
10
      our deadline to file our motion to dismiss is January 27. Please let me know if you would like a
11

12    further phone call to discuss, and if so, please provide your availability to do so.

13                   Regarding the other issues you’ve raised in your recent emails, I will respond in a
14
      separate email.
15
                     Sincerely,
16
                     Josh Geller”
17

18

19                   2. The Plaintiff Alleges
20
                     The Plaintiff alleges that, instead of addressing the complaints, the Defendant is
21
      attempting to circumnavigate justice by creating legal technicalities and misrepresenting the
22
      claims to further frustrate and cause harm. The plaintiff states for over 3 years, the defendant has
23

24    failed to investigate his complaints or sufficiently address them. The Plaintiff believes that the

25    endless spurious motions are designed to overwhelm him and make him slip up, missing
26

27                                                     12
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1     deadlines or failing to respond to the court. The Plaintiff states that he has 1000s of pieces of
2
      evidence to compile into court bundles and the Defendant is aware of this. The defendant had
3
      previously threatened to have the case kicked out of court before any hearings and these threats
4
      have been provided to the court.
5

6                    3. Addressing each section of the email of pending motion.

7                     3a. Mr. Geller wrote. “We have received a copy of your Amended Complaint,
8
      which was filed with the federal court on January 13. A copy of the Notice of Electronic Filing
9
      is attached for your reference. In light of the Amended Complaint, Riot’s original motion to
10
      dismiss is moot (see attached order from the Court).”
11

12

13                   The Plaintiff states that Mr. Geller has had many complaints over many months,
14
      ensuring that both he and his client are fully aware of the complaints and the infringements. The
15
      Plaintiff was made aware of the Copyright infringement after the release of Arcane on Netflix on
16
      the 23rd of November 2021. It would have been impossible for the Plaintiff to be aware of the
17

18    infringement before this date. The Plaintiff contacted Riot Games the day after. After the 2021

19    threats from the defendant in letters, which have been added to previous declarations, the
20
      Plaintiff was wrongly led to believe that he was too weak and vulnerable and too poor to seek
21
      legal justice against such a powerful and rich company. The plaintiff was too ill to pursue justice
22
      at that time. In better health and mind, the plaintiff filed a complaint with the district court and
23

24    began these proceedings in October 2024, before the end of the three years, as provided by 17

25    U.S.C. § 507(b).
26

27                                                     13
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1                    COMPLAINT WAS FILED ON OCTOBER 31, 2024
2
                     DEFAULT JUDGMENT FILED JANUARY 07, 2025:
3
                     COMPLAINT - SHORT FORM: JANUARY 01, 2025
4
                     AMENDED COMPLAINT FILED: JANUARY 04, 2025- ACCEPTED:
5

6     Case 2:25-cv-00053-FMO-BFM Amended Complaint filed JANUARY 13, 2025

7                    3b. Defense Against Rule 12(b)(6) Motion: Failure to State a Claim.
8
                     Mr. Geller (defendant) wrote “As to your two copyright claims, you have not
9
      alleged a plausible claim for relief, including because you have not included any factual
10
      allegations regarding what protected expression of your work has been infringed by Riot.”
11

12

13                   Introduction:
14
                     In response to Riot’s anticipated motion to dismiss the Amended Complaint under
15
      Rule 12(b)(6) for failure to state a claim, the plaintiff submits the following defense. Riot argues
16
      that the copyright claims are not plausible because the Amended Complaint does not sufficiently
17

18    identify the protected expression of the plaintiff's work that has allegedly been infringed.

19    However, the Amended Complaint, when viewed in its entirety and construed in the plaintiff's
20
      favor, states a valid copyright infringement claim with sufficient detail to meet the pleading
21
      standards established under Twombly and Iqbal.
22
                     Additionally, On January 13, 2025, the plaintiff filed DECLARATION OF
23

24    MARC WOLSTENHOLME In Support of Request PLAINTIFF’S OPPOSITION TO

25    DEFENDANT’S MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL
26

27                                                    14
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1     PROCEDURE 12(B)(6) AND MOTION FOR A MORE DEFINITE STATEMENT
2
      PURSUANT TO RULE 12(E).
3
                     In this document, under 17a. Preliminary Evidence section, the Plaintiff listed 100
4
      unique examples of narratives, prose, story beats, designs, aesthetics, characters and more, of
5

6     which is alleged to have been stolen from Bloodborg to make Arcane.

7

8
                     Additionally, under 17b of the same document, the Plaintiff listed 7 examples of
9
      Psychosis and mental illness as trauma responses in Bloodborg and Arcane characters- matched.
10
                     Additionally, JANUARY 15, 2025, the Plaintiff filed DECLARATION OF
11

12    MARC WOLSTENHOLME OVERVIEW OF CHARACTER EVIDENCE. COMPARISON OF

13    CHARACTERS FROM ARCANE & BLOODBORG. WITH REFERENCE TO POV’S FROM
14
      BLOODBORG AND PSYCHO-EMOTIONAL ANALYSIS. VI VS ROOK, PLUS ELEMENTS
15
      BORROWED FROM OTHERS IN BLOODBORG. This document is a 38-page overview of the
16
      macro structure Comparing Vi of Arcane to Rook of Bloodborg.
17

18                   The Plaintiff has provided the Defendant with over 20 videos breaking down

19    every moment of Episode 1 of Arcane to show how and where it was alleged to have been lifted
20
      from Bloodborg. In time the Plaintiff will provide both micro and macro evidence of the whole
21
      of Arcane.
22
                     3c. Legal Standard for a Rule 12(b)(6) Motion:
23

24                   Under Rule 12(b)(6), a court may dismiss a complaint only if it fails to state a

25    claim upon which relief can be granted. The court must assume that all allegations in the
26

27                                                   15
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1     complaint are true and must draw all reasonable inferences in favour of the plaintiff. The plaintiff
2
      need only present enough facts to make the claim plausible on its face, not to prove the case at
3
      this stage. The plaintiff will continue to compile and file masses of evidence, but this will take
4
      time. The Supreme Court’s rulings in Bell Atlantic Corp. v. Twombly (2007) and Ashcroft v.
5

6     Iqbal (2009) clarified that while a complaint must provide more than mere “labels and

7     conclusions,” it is not necessary to provide detailed factual allegations. Instead, a plaintiff must
8
      provide enough factual content to allow the court to infer a plausible claim.
9
                     3d. Copyright Infringement Requirements:
10
                     To state a claim for copyright infringement, a plaintiff must show:
11

12                   (a) Ownership of a valid copyright;

13                   (b) Copying of constituent elements of the work that are original.
14
                     The plaintiff’s Amended Complaint clearly states ownership of the copyrighted
15
      work and alleges that Riot has copied original, protectable elements of that work. The Plaintiff
16
      has added a copyright registration case number, and other evidence of Ownership of a valid
17

18    copyright to this motion. See section for an overview of Ownership of a valid copyright.

19

20
                     3e. Allegation of Copyrighted Expression:
21
                     Riot contends that the plaintiff has failed to specify what protected expression has
22
      been infringed. However, the Amended Complaint sufficiently identifies the nature of the
23

24    copyrighted material and the elements that are protectable under copyright law. Additionally, the

25    prelitigation communications have presented substantial evidence over many months.
26

27                                                    16
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1     Additionally, other named declarations have presented evidence. More evidence will be
2
      presented in this motion. See section 4 for a Structural overview- examples of Substantial
3
      Similarities.
4

5

6                     3f. Identification of Original Elements:

7                     The complaint explicitly states 100 elements of Bloodborg alleged to have been
8
      used in Arcane accounting for a substantial amount of Arcane. The complaint explicitly
9
      describes seven key examples of psychosis and mental illness as trauma responses in Bloodborg
10
      and Arcane characters- matched. This accounts for many of the themes and tones which Arcane
11

12    has been praised for. Moreover, it is alleged that these elements directly refer to the plaintiff’s

13    personal trauma from medical records and this has also been provided to the Defendant.
14
                      Many protectable elements have been listed and explained including characters,
15
      POV’s story beats, storylines, fictional technologies, aesthetics, dialogue, themes, tone and even
16
      two characters being transformed into Bloodborgs, which is the title of the book the plaintiff
17

18    alleges has been infringed upon. The plaintiff’s amended complaint and subsequent documents

19    filed to the court further alleges that Riot’s work contains direct and substantial similarities to
20
      these elements.
21

22
                      3g. Substantial Similarity:
23

24                    Under copyright law, to prove infringement, a plaintiff need only show that the

25    two works are “substantially similar” in protectable elements. It is not necessary at the pleading
26

27                                                     17
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1     stage to conduct a detailed side-by-side comparison of every element. The plaintiff has alleged
2
      sufficient facts to support the conclusion that substantial similarity exists, including specific
3
      elements of the work that have been copied. The complaint includes allegations of specific
4
      similarities between the two works, which are sufficiently detailed to establish a prima facie case
5

6     of substantial similarity at this stage of the proceedings.

7                    4. Structural overview examples of Substantial Similarities
8
                         This is a preliminary factual overview comparison to establish a prima facie
9
                         case of substantial similarity at this stage of the proceedings.
10

11

12                   4a. World-Building and Setting

13                   Bloodborg: The Harvest features a post-apocalyptic world ravaged by
14
      environmental collapse, war, and technological manipulation. The narrative is set in a world
15
      where blood is the most valuable commodity, and genetic manipulation is rampant. The Ark and
16
      Assemblage represent the last bastions of civilization, with giant walls isolating and protecting
17

18    the elite. New Kowloon is a walled city in the sky (Sunken former Manhattan). High platforms,

19    Gangways, monorails and sky-rails were built to lift the city out of the water and out of the
20
      smog-filled underbelly, but even the sky city fell into disrepair and degradation after New
21
      Kowloon gained state independence and was shut off from the mainland, causing riots and
22
      conflicts coined “The Great Bridge dumping”. New Kowloon now has three main districts,
23

24    known by many names, Warwick calls the districts, Needles, Tetris and Mouth. The three

25    districts symbolize bipolar and mental illness. Needles, the manic sharp high. Mouth, the deep,
26

27                                                     18
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1     dark devouring depressive. And Tetris, the bright and active in between, the normality and vices
2
      one uses to mask, regulate and overcome the highs and lows.
3
                     Arcane: similarly takes place in a dystopian setting, split between the rich city of
4
      Piltover and the impoverished, chaotic smog-filled undercity of Zaun. The city is divided by
5

6     class, with the elite in Piltover using advanced technology to maintain their status, while Zaun is

7     plagued by poverty, corruption, and exploitation. Arcane’s representation of these settings is
8
      very different to the LOL games settings. Arcane episode one opens with Zaun being shut off
9
      from Piltover, causing riots and conflicts on the Bridge, in which many things are dumped.
10
                     Similarity: Both worlds involve stark class divisions, with the wealthy elite
11

12    controlling advanced technology, while the poor suffer under harsh smog-filled conditions. Both

13    settings explore the themes of inequality, oppression, and the societal consequences of
14
      technological advancement. Both feature isolated enclaves of civilization (Ark, Assemblage,
15
      Piltover), while the outside world (the Nullifidian and Zaun) is in chaos. This is further
16
      represented in Bloodborg’s layered and cyclical narrative style (also used in Arcane), by creating
17

18    the same class struggles dynamics between the three districts of New Kowloon. It is further

19    represented with the Under Lanes and the topside, adding a 3-d like worldbuilding literary device
20
      (Classes, within classes and cities within cities). The opening scene of Arcane is strikingly
21
      similar to “The Great Bridge dumping” of Bloodborg. This is just one of many scenes that will
22
      be presented and evidenced during these court proceedings.
23

24

25                   4b. Technology and Cyborgs
26

27                                                    19
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1                    Bloodborg: The Harvest centers around the creation of Bloodborgs—cybernetic
2
      beings that are the ultimate blend of AI, robotics, and human tissue, all made possible by the
3
      blood of the youth. Specially selected human blood is the base ingredient in many concoctions
4
      and drugs which have different effects based on what they are used for. The main blood drug is
5

6     called Fetal Sapien Serum. Bloodborgs (creations) serve as the pinnacle of human evolution,

7     with a focus on immortality and control through technology. Fusion energy, teleportation infinity
8
      devices and blue electromagnetic balls are central to the storytelling.
9
                     Arcane: presents a world with advanced technology, particularly in the form of
10
      Hextech energy and its blue crystal balls which merge magic and machinery to create powerful
11

12    devices. Cyborgs in Arcane are less stated, with characters like Jinx, Sevika and Viktor being

13    deeply tied to Shimmer (a blood drug), technology, and themes of control and technological
14
      manipulation play a significant role in the storyline. Shimmer is a drug in Arcane, alleged to be
15
      remarkably similar to Fetal Sapien Serum and its effects. Jinx in Arcane is kept alive via
16
      shimmer. Both Arcane’s Viktor and Warwick transform into Bloodborgs via selected blood and
17

18    shimmer. Viktor calls this the “Glorious Evolution.” Glorious Evolution was a “treasured

19    gateway” voice line from the LOL game, which is very different, even unrecognizable to Arcane.
20
      Teleportation infinity devices are also in Arcane, one being a device embedded in Jayce’s
21
      forearm, and another called hexgates.
22
                     Similarity: Both works explore the idea of humanity merging with blood
23

24    technology, with Bloodborg: The Harvest showcasing literal cyborgs and bloodborgs and Arcane

25    depicting characters whose fates are entwined with powerful technological artefacts, cyborg
26

27                                                    20
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1     advancements and bloodborgs. Both stories question the morality and consequences of such
2
      advancements. These stories have hundreds of remarkable similarities in deeply complex and
3
      very specific ways. Both stories share the same tones, themes, settings, chapters, cyclical
4
      storytelling, POV’s, characters (different from the games), repetitive trauma writing and duality
5

6     in both linear and abstract ways.

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1                    4c. Characterization and Protagonists
2
                     Bloodborg: The Harvest features a range of protagonists who are each struggling
3
      with personal conflict and external pressure. Characters like Josh Kimble, Warwick, and D’borg
4
      deal with issues of identity, trauma, and betrayal. Josh, for instance, is radicalized against the
5

6     Ark, while D’borg struggles with her cyborg identity and past trauma. Each of the Pov characters

7     and some others are being manipulated and radicalized to action via their predicaments or via an
8
      in-brain higher being.
9
                     Arcane: also has a cast of complex characters dealing with personal struggles and
10
      moral ambiguity. Vi and Jinx (formerly Powder) are central figures whose complicated
11

12    relationship and past trauma drive much of the narrative. Vi struggles with loyalty, family, and

13    justice, while Jinx grapples with abandonment and madness. Each of the POV characters are
14
      being manipulated and radicalized to action via their predicaments and via others, some via an
15
      in-brain higher being.
16
                     Similarity: Both Bloodborg and Arcane feature protagonists who are struggling
17

18    with internal conflicts and past trauma, often leading them down paths of rebellion or

19    destruction. The theme of personal growth and change is central to both narratives, and the
20
      characters’ journeys revolve around navigating complex, morally grey situations. Each character
21
      can and will be explained and compared to their alleged counterparts in many documents of
22
      evidence. In both works, the storytelling shows how each of the characters are being manipulated
23

24    and radicalized to action via their predicaments and via others. In both works, trauma is central

25

26

27                                                     22
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1     to the plots, and it is alleged that this is the trauma writing of the Plaintiff’s actual real-life
2
      struggles and traumas.
3

4
                      4d Themes of Rebellion and Control
5

6                     Bloodborg: The Harvest explores themes of rebellion against oppressive systems.

7     Teki Nagasaki and B are leading a resistance against the Founding Families, who are
8
      manipulating the population to build their vision of a perfect world through control of blood and
9
      technology. People can use Vada in-brain and Deep Root to contact Gaia and higher
10
      consciousness. People can be controlled via Vada in-brain and Deep Root. In Bloodborg’s
11

12    African Child’s POV, Neva- Leader of the tribe- loses a child, and searches inside the higher

13    realms for her dead baby. Mother Gaia sees her unwavering motherly love, determination and
14
      devotion. Mother Gaia sees that Neva is worthy of raising and protecting the earth child. Gaia
15
      sends a white-eyed child of great importance from the higher consciousness to earth to help save
16
      the planet and human race.
17

18                    Arcane: similarly delves into rebellion, with characters like Vi and Jinx rebelling

19    against the oppressive control of the Piltover elite, particularly the corrupt use of Hextech. The
20
      conflict between the rich and poor, and the desire to break free from systemic oppression, is a
21
      central theme in Arcane. Viktor travels to higher consciousness and is able to control people
22
      from it. The Arcane is a Gaia-like metaphysical presence. In the Blood sweat and Tear music
23

24    video, which is an extension of Arcane, Ambessa Medarda loses a child in the same manner.

25

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27                                                       23
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1     Ambessa visits the higher realms and is gifted a white-eyed child of great importance. This child
2
      grows up to be Mel in Arcane.
3
                     Similarity: Both works examine the tension between the oppressed and the elite,
4
      exploring rebellion as a response to an unfair societal structure. Both feature underground
5

6     movements and characters who fight against forces of control, with a central question of how far

7     one is willing to go in the pursuit of justice and change. Both stories have bloodborgs, both have
8
      higher consciousness, both have the white-eyed child of great importance, both settings or
9
      worlds are being manipulated and controlled. Both have a resistance hidden deep in the
10
      underbelly of the cities.
11

12

13                   4e. Tone and Narrative Structure
14
                     Bloodborg: The Harvest uses a complex, non-linear narrative with multiple
15
      POVs. It shifts between different times (future past, present, future present) and locations (New
16
      Kowloon, Dunkirk, Coventry, Africa etc.), giving a sense of an expansive, interconnected world.
17

18    The tone is dark and dystopian, focusing on the bleakness of the future and the corruption

19    inherent in the society that has evolved. Circler narratives of trauma drive the characters and plot
20
      and set the tone.
21
                     Arcane: also employs a narrative structure with multiple perspectives,
22
      particularly focusing on the relationship between Vi and Jinx, while also exploring other key
23

24    characters such as Caitlyn and Silco. The tone is similarly dark, dealing with themes of betrayal,

25    family, and the destructive impact of power. While Arcane follows a more traditional episodic
26

27                                                    24
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1     structure, it still conveys an expansive narrative arc and intricate character development in a
2
      POV like manner and many of these POV’s mirror those of Bloodborg. Circler narratives of the
3
      same traumas drive the characters and plot and set the tone.
4
                     Similarity: Both works share a dark tone and feature expansive, layered
5

6     narratives that explore trauma, loss, societal corruption and the impact of power. They also both

7     present the idea of multiple intersecting lives, where personal stories affect larger societal
8
      change.
9

10
                     Conclusion: Substantial Similarity
11

12                   Both Bloodborg: The Harvest and Arcane share several common themes and

13    elements, notably:
14
                     The same trauma and loss and repetitive visiting of these traumas to show
15
      intrusion like flashbacks of people suffering with PTSD.
16
                     A dystopian smog-filled setting marked by stark class divides.
17

18                   The exploration of the blending of humans and machines (cyborgs, advanced

19    technology) with blood engineering to make Bloodborgs.
20
                     Characters struggling with personal trauma and the consequences of their choices,
21
      particularly in relation to rebellion and resistance.
22
                     Complex narratives with shifting timelines and multiple perspectives.
23

24                   Blood drugs and serums to control, mutate and advance humans.

25                   Higher consciousness and in-brain controlling and communicating.
26

27                                                     25
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1                    Ther white-eyed child of great importance.
2
                     While Bloodborg leans more heavily into cyberpunk and the concept of bio-
3
      cybernetic warfare, and earth magic, and Arcane incorporates elements of magic and mysticism
4
      with its Hextech technology, the underlying themes of societal decay, rebellion, and the moral
5

6     cost of technological advancement tie both works together. Many of the different features are

7     alleged to be changes in names, colors or other markers, to hide their origins. Such as, Fusion to
8
      Hextech, The Rupture to the anomaly, white eyed boy to white eyed girl, windy assassin to
9
      whispering in low tones, neurotransmitter drugs administered in the eye instead of inhaling, Wu
10
      and Ling Zhang’s trading shop to Benzo and his trading shop, Sant’teon to Viktor Jesus,
11

12    Pinnacle of creation to glorious evolution, hyenas to wolves, and so on. These similarities make

13    Bloodborg: The Harvest and Arcane substantially similar in terms of their core narrative
14
      elements, themes, and the type of conflict explored, despite the differing settings and specific
15
      plot details, which are alleged to be changes to fit and fix cardboard characters from LOL games
16
      and to align their nonsensical and incongruent backstories and cannon lore.
17

18                   It should be noted that now, post receipt of Bloodborg: The Harvest by M.W.

19    Wolf, Riot Games have retconned much of their inconsistent lore and backstories to align with
20
      Arcane. Moreover, Arcane and its characters are now deeply embedded into all of Riot Games
21
      products and merchandise.
22
                     This is a tiny Structural overview providing examples of Substantial Similarities.
23

24    Substantial Similarities expand much wider than what has been presented in this motion to

25    establish a prima facie case of substantial similarity at this stage of the proceedings.
26

27                                                     26
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1                    5. Ownership of the work in question.
2
                     The Plaintiff will evidence the creation and ownership of Bloodborg: The Harvest
3
      via many sources dating back to late summer/ fall of 2014. At this time the Plaintiff was working
4
      on his first novel, Buried at Bedlam. Whilst the process began in 2014, the formal drafting of
5

6     Bloodborg: The Harvest took place between 2028 and 2019. From late 2019 to Spring 2020,

7     query submissions were sent to agents and Riot Forge.
8
                     In the Uk, The Copyright Act of 1976 provides the framework for protecting
9
      original works of authorship, including literary works, against unauthorized use. In the Uk
10
      Automatic Protection is granted. Under 17 U.S.C. § 501, any violation of the exclusive rights of
11

12    a copyright owner constitutes infringement. These exclusive rights include reproduction,

13    distribution, public performance, public display, and preparation of derivative works.
14
                     The Plaintiff cites both the Berne Convention and the WIPO Copyright Treaty.
15
      Article 5(2) of the Berne Convention explicitly states that enjoyment and exercise of copyright
16
      "shall not be subject to any formality," meaning registration is not required to gain protection.
17

18                   Additionally, The Plaintiff has learnt that his work may still be required to be

19    registered under US copyright. The Plaintiff has filed a 10-book unpublished copyright
20
      registration, citing 2025 as the completion of the last book as required by law. Bloodborg: The
21
      Harvest (of which this copyright case stands) is the second of these 10 books, written between
22
      2018 and 2019. The case number for this copyright registration document is: 1-14654214871.
23

24    The Plaintiff has filed an AO 121 (January 17th 2025).

25

26

27                                                    27
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1                    5a, Water damaged notes dating back to 2014.
2
                     Development of ideas and concepts and narratives for Bloodborg: The Harvest
3
                     began in 2014, with a hypnogogic dream. The plaintiff woke up in the middle of
4
                     the night and scribbled down much of his dream visions (Exhibit A).
5

6

7                    5b. Formal drafting of Bloodborg: The Harvest.
8
                     The formal drafting of Bloodborg: The Harvest took place between 2028 and
9
                     2019. By then Bloodborg had its own notebook. This notebook is extensive,
10
                     detailing the development and notes of the whole process of creating and writing
11

12                   Bloodborg: The Harvest. This notebook includes a list of submissions to Literary,

13                   Film and Gaming talent agencies, including dates of submission. The Plaintiff
14
                     will highlight key avenues in which Riot Games had access to the Plaintiff’s work
15
                     and submissions (Exhibit B).
16

17

18                   5c. Digital Evidence of Ownership.

19                   The Plaintiff can show digital creation of Bloodborg: The Harvest, with meta data
20
      of word documents, chronologies of the M.W. Wolf catalogue of fiction and text message
21
      communications about working on Bloodborg, and an editorial letter, offer of representation
22
      (Exhibit C).
23

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27                                                  28
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1

2
                     5d. Digital Evidence submissions.
3
                     The Plaintiff will evidence digital forensics of submissions. Additionally, the
4
      plaintiff will highlight many avenues in which Riot had access to the plaintiff's work, as well as
5

6     working relationships between Riot Games and agencies who had full access to all of the

7     manuscript in question (Exhibit D).
8

9
                     5e. Highlighting Ongoing Copyright Concerns.
10
                     The Plaintiff will highlight Uk based complaints of alleged Copyright
11

12    infringements of the M.W. Wolf catalogue of fiction, against Jonny Geller and Felicity Blunt of

13    Curtis Brown Group, now a subsidiary of United Talent Agency (UTA). Many of these
14
      infringements are alleged to have also been sold to Netflix, where Arcane was distributed
15
      (Exhibit E).
16

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1                    6. Factual Support:
2
                     The plaintiff has provided factual support for the copyright infringement claim,
3
      including:
4
                     Ownership of the work in question;
5

6                    A description of many of the protectable elements of the work;

7                    Allegations of access and substantial similarity between Riot’s work and the
8
      protectable elements of the plaintiff’s work;
9
                     Specific examples of how Riot’s work infringes upon those elements.
10
                     These allegations go beyond mere conclusions and provide factual content
11

12    sufficient to give Riot fair notice of the claims against it and the grounds upon which those

13    claims rest.
14
                     7. Leave to Amend if Necessary:
15
                     If the court concludes that additional detail is required, the plaintiff requests leave
16
      to amend the complaint to provide further specificity regarding the protectable elements of the
17

18    copyrighted work and the alleged infringement. Courts generally allow amendments unless it

19    would be futile to do so, and the Plaintiff believes he has stated many reasons why it is not.
20

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1                     8. LEGAL STANDARD
2
                      Under Rule 12(b)(6), a complaint should not be dismissed unless it fails to state a
3
      claim upon which relief can be granted. The Court must accept all factual allegations as true and
4
      draw all reasonable inferences in favor of the Plaintiff. (Ashcroft v. Iqbal, 556 U.S. 662, 678
5

6     (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A complaint need only include

7     "a short and plain statement of the claim showing that the pleader is entitled to relief" (Fed. R.
8
      Civ. P. 8(a)(2)).
9
                      Under Rule 12(e), a motion for a more definite statement is appropriate only if a
10
      complaint is "so vague or ambiguous that the party cannot reasonably prepare a response." Such
11

12    motions are disfavored because the federal rules favor liberal pleading standards and pretrial

13    discovery as the primary means for clarifying claims.
14

15
                      8a. Accommodations for Pro Se Litigants in U.S. Courts
16
                      Plaintiff in Pro Per is a UK citizen, uneducated in, and unexposed to, U.S. district
17

18    and federal legal systems and laws. The plaintiff does not plead ignorance, but is trying to

19    rapidly respect, learn and adhere to all district and federal laws and requirements. The plaintiff
20
      respectfully asks the court to note the limitations and disadvantages, but also to make reasonable
21
      adjustments for the plaintiff’s personal vulnerabilities, disabilities (Complex PTSD and
22
      comorbid illnesses) and learning difference of dyslexia.
23

24

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1                      Plaintiff cites the Federal Court’s Duty to Construe Pro Se Pleadings Liberally. In
2
      U.S. federal courts, pro se litigants are entitled to certain accommodations. Courts are required to
3
      construe pro se filings liberally to ensure fairness.
4
                       Key Case Law:
5

6                      Haines v. Kerner, 404 U.S. 519 (1972): Established that pro se pleadings are held

7     to "less stringent standards" than those drafted by attorneys.
8
                       Erickson v. Pardus, 551 U.S. 89 (2007): Reaffirmed the principle of liberal
9
      interpretation for pro se filings, emphasizing that courts must review filings in the most favorable
10
      light to the litigant.
11

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1                    8b. Reasonable Accommodations Under the ADA.
2
                     The Plaintiff has limitations and disabilities that affect his ability to litigate
3
      effectively, these can be evidenced on request of the court if required. The Plaintiff asserts that
4
      under the Americans with Disabilities Act (ADA), and by extension shared laws, ethical and
5

6     value standards, he may be entitled to reasonable accommodations but will endeavor to meet and

7     respect all requirements of the court.
8
                     Reasonable Adjustments:
9
                     Extensions for filing deadlines.
10
                     Allowing non-standard forms of communication, such as email, for submitting
11

12    documents.

13                   Granting additional guidance or leniency in procedural matters.
14
                     Granting mediation and protection from bullying and aggressive legal strategies
15
      of the defendant to evade lawful processes, to complicate the cases and to build falsehoods,
16
      unfair court bundles and undo stress and burden on the Plaintiff.
17

18

19                   9. Conclusion:
20
                     For the foregoing reasons, the plaintiff respectfully requests that the defendant’s
21
      motion to dismiss under Rule 12(b)(6) be denied. The Amended Complaint, taken as a whole,
22
      sets forth a plausible claim for copyright infringement and meets the required standard for
23

24    pleading. Moreover, more details of factual allegations regarding what protected expression of

25    Bloodborg has been infringed by Riot Games have been added to this motion (4. Structural
26

27                                                      33
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1     overview examples of Substantial Similarities). Moreover, Plaintiff has spent many months
2
      informing the defendant of 1000s of elements of infringement, and it will take many months
3
      more to collate all of the evidence. The complaint alleges that Riot had access to the plaintiff's
4
      work, given its widespread dissemination and submission to Riot Forge on April 15 & 19th 2020.
5

6     Additionally, the work was submitted to Curtis Brown group who can be shown to have a

7     working relationship with Riot Games.
8
      Plaintiff possesses substantial evidence, including:
9
                     •       UK & US Copyright registration details for "Bloodborg: The Harvest"
10
                     •       Submissions of Copyrighted material with dates and times.
11

12                   •       Comparative analyses demonstrating substantial similarities between

13    Plaintiff’s work and Defendant’s animated series "Arcane” & “Blood Sweat & Tears Official
14
      Music Video.” & “Welcome to Noxus - Bite Marks.”
15
                     •       Communications with Riot Games and its subsidiaries, including Riot
16
      Forge, that demonstrate Defendant’s awareness of Plaintiff’s work.
17

18                   •       Medical Records of the Plaintiff’ paired to a Psycho-Emotional Analysis

19    of Trauma in Arcane, demonstrating how it matches therapy of trauma writing used in
20
      Bloodborg, from medical records.
21
                     •       Records of bad faith negotiations and legal threats and hate mail which
22
      exacerbated Plaintiff’s emotional distress.
23

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27                                                    34
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1                    For the reasons set forth below, the Court should deny Defendant’s Motion to
2
      Dismiss or, alternatively, grant Plaintiff leave to amend the Complaint.
3
      ________________________________________
4

5                                             Exhibits
6

7                         Exhibit A- Water damaged notes dating back to 2014.
8
                                                     A1.
9

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                                                     A2.
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6                                             A3.

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18                   Exhibit B- Formal drafting of Bloodborg: The Harvest.

19                                            B1.
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27                                            36
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7       B2. List of submissions to Literary, Film and Gaming talent agencies, including dates of
8
        submission. This shows that Bloodborg was submitted to Riot Forge on the 15th & 19th of
9
                                                 April.
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1     Exhibit C- Digital Evidence of Ownership.
2
                               C1- Stored copies of word documents.
3

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1                                     C2- First draft sent off record.
2
      Bloodborg was written on a laptop which is now not working. The Plaintiff will endeavor to
3
      recover the original documents dating 2018. C2 shows first draft sent off in March 2020.
4

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12              C3- The Ark of Civilization is Josh’s POV, this copy dates January 2019

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2
          C4- WhatsApp records between Plaintiff and his ex-girlfriend detailing the date the
3
       working title of Blood Harvesting was changed to the set title of Bloodborg, which refers to
4
                          the cyborg like creations with complex blood engineering.
5

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                               C5- Chronologies of the M.W. Wolf catalogue
11

12                   Date of Creation/Ownership List of M.W. Wolf Books

13                   Table 1 – Chronology of Creation of M.W. Wolf Books.
14
        Dates written             Titles                               Evidence
15      August 2014 - Buried at Bedlam: After the     1, Meta data of word documents
         August 2018. Black by Marc Wolstenholme      2, Emails sent after completion.
16                    (M.W Wolf Ltd)                  3, Editorial Report
                                                      4, Rejections
17
           2018- 2019     Bloodborg: The Harvest by   1, Meta data of word documents
18                        Marc Wolstenholme (M.W      2, Emails sent after completion.
                          Wolf Ltd)                   3, Editorial Report
19                                                    4, offer for representation
            Late 2019     Six Dead Orphans (Short     1, Meta data of word documents
20
                          Shory) by Marc Wolstenholme 2, Emails sent after completion.
21                        (M.W Wolf Ltd)              3, Rejections
        Summer 2020-      Our Fathers by Marc         1, Meta data of word documents
22          Jan 2021      Wolstenholme (M.W Wolf Ltd) 2, Emails sent after completion.
                                                      3, Rejections
23
           1st of April   The Shameful Kiss by Marc   1, Meta data of word documents
24               2021-    Wolstenholme (M.W Wolf Ltd) 2, Emails sent after completion.
             Jul 2021                                 3, dates mentioned in queries.
25                                                    3, Rejections
26

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1       Second Half of False Alligators & Wind-up         1, Meta data of word documents
                   2021 Dolls (satire) by Marc            2, Emails sent after completion.
2
                        Wolstenholme (M.W Wolf Ltd)
3           Jan 2022- Mississippi Sleepers: A             1, Meta data of word documents
            April 2022 Woman Reborn by Marc               2, Emails sent after completion.
4                       Wolstenholme (M.W Wolf Ltd)       3, Rejections
         Late 2019 but Carniphobia: The                   1, Meta data of word documents
5
         mostly second Wandering (composite novel)        2, Emails sent after completion.
6         half of 2022. by Marc Wolstenholme (M.W         3, Rejections
                        Wolf Ltd).
7        July 2022 but The Ballad of Wuthering            1, Meta data of word documents
         most of it was Descent by Marc                   2, Emails sent after completion.
8
        written in Dec Wolstenholme (M.W Wolf             3, Rejections
9                 2022. Ltd). With a list of M. W. Wolf   4, Showcase documentation
                        planned books sent to one
10                      agent.
            May 2023 Lang The Orangutan by                1, Meta data of word documents
11
                        Marc Wolstenholme (M.W            2, Emails sent after completion
12                      Wolf Ltd).                        3, Power Point presentation
             April, Jun Bee My Agent; Blood and           1, Meta data of word documents
13                2023- Honey by Marc Wolstenholme        2, Emails sent during and after
             Dec 2023 (M.W Wolf Ltd).                     completion.
14
                                                          3, Power Point presentation
15                                                        4, Curtis Brown Creative course
           Nov 2023- The Fateless Child: Tainted          1, Meta data of word documents
16        August 2024 Blood                               2, Emails sent during and after
                                                          completion.
17
                                                          3, Power Point presentations
18                                                        4, Website and X page

19

20

21                  Date of Creation/Ownership List of M.W. Wolf Books

22                  Table 1 (continued)
23

24
       1st March 2024 God’s Masterful Evasion &           1, Meta data of word documents
25                    The Inverted Organelle              2, Emails sent during and after
                      Theory of Consciousness and         completion.
26

27                                                 41
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1                    The Universe (IO-CU). The             3, Power Point presentations
                     Theory of Everything                  4, Website and X page
2
          March 2024 Lang The Orangutan AI                 1, Meta data of word documents
3                    illustrations by M.W. Wolf            2, Emails sent during and after
                                                           completion.
4                                                          3, Power Point presentations
                                                           4, Website and X page
5
       8th March 2024 https://www.mwwolf-                  1, Domine
6                     fiction.co.uk/ by Marc               2, Meta data
                      Wolstenholme (M.W Wolf               3, Profile
7                     Ltd).
8

9
                   C6- Chronologies of Bloodborg shared with Curtis Brown Group.
10

11

12                   Second Book: Chronology of Bloodborg: The Harvest.

13                   Date of Creation/Ownership: Marc Wolstenholme. Bloodborg: The Harvest by
14
      M.W Wolf Ltd between 2018- 2019. Meta data of word documents will confirm this, as will
15
      emails sent after completion. Editorial Report and offer for representation will also ownership.
16

17

18                   Table 3 – Chronology of Bloodborg: The Harvest shared with CBG.

19             DATE EVENT                                                 Evidence
20
         15 Apr 2020 Wed, 15 Apr 2020 at 22:21 I submitted BBE7
21
                        Bloodborg to Felicity Blunt Curtis Brown
22                      Group. cbcsubmissions@curtisbrown.co.uk
23                      An email confirming receipt was received titled
24                      - Thank You for Your Submission: Bloodborg:

25                      The Harvest

26

27                                                   42
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1        15 Apr 2020 Wed, 15 Apr 2020 at 22:31 I submitted                BBE8
2                      Bloodborg to -
3                      submissions@austinmacauley.com

4
          9 Jun 2020 Tue, 9 Jun 2020 at 15:28 I received a rejection      BBE9
5
                       email from
6
                       cbcsubmissions@curtisbrown.co.uk
7
                       tilted- Submission review results
8
         24 Jun 2020   Wed, 24 Jun 2020 at 12:43- received the letter     BBE10 & BBE 11
9                      from the Editorial Board of Austin Macauley
10       23 Feb 2021 Tue, 23 Feb 2021 at 22:33 I submitted                BBE12
11                     Bloodborg to Ciara Finan (Jonny Geller’s
12                     assistant). ciara.finan@curtisbrown.co.uk

13
         16 Apr 2021 Fri, 16 Apr 2021 at 18:08- Rejection from            BBE13
                       Ciara Finan
14
         24 Nov 2021 Wed, 24 Nov 2021 at 18:24 I summitted                BBE14 &BBE 15
15                    Bloodborg to Geller Office Submissions
16
                      gellerofficesubmissions@curtisbrown.co.uk
                      I also informed him that Arcane, an animated
17                    Netflix series, seemed to have taken my
                      Bloodborg manuscript and modified it into
18                    their own productions.
19
          23 Jul 2023 Sun, 23 Jul 2023 at 21:23- I resubmitted a          BBE16 & BBE 17
                       different part of Bloodborg to Geller Office
20
                       Submissions. This was also the first time I told
21
                       him about Bee My Agent
22

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1                     C7- Austin Macauley Publishers Letter for offer of representation of
2
                                     Bloodborg (June 2020).
3
                  Page 1
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1                    Exhibit D- Digital Evidence submissions.
2
                     Bloodborg was discussed with agents and people in the literary industry
3
      throughout 2019. People at Curtis Brown Group, notably Felicity Blunt and Jonny Geller, were
4
      made aware of Bloodborg during this period. However, formal submissions widely took place
5

6     from the 15th of April 2020.

7

8
                     D1- Log of email submissions from 15th of April 2020.
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14
                    D2- Proof of full manuscript submissions. Query submissions tend to ask for
15
      the first 10,000 words and a synopsis. The Plaintiff knew how hard it is to find
16
      representation in the literary, film and gaming industries. Moreover, he did not regard the
17

18    first Pov (Josh) as the strongest section. The Plaintiff was new to the industry, and he was

19    naïve toward the high rate of plagiarism and theft. He “When out on a limb” and filed his
20
      whole manuscript to many, in the hope that it would have a greater chance of impressing
21
      the agents. This includes the submissions to Austin Macaulay Publishers, Curtis Brown
22
      Group, Riot Forge, Madeleine Milburn, Louise Buckley at Zeno Agency, Alexander
23

24    Cochran at Conville & Walsh, and Will Francis at Janklow & Nesbit, among others.

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27                                                 47
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                                             #:598


1                  Below I’ve attached a screenprint of the Will Francis at Janklow & Nesbit
2
      submission- 15/04/2020- to show that the full manuscript was attached.
3

4
                   D2- Will Francis at Janklow & Nesbit submission- 15/04/2020
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6                    D3- cbcsubmissions@curtisbrown.co.uk rejection email – (Tue, 9 Jun 2020 at 15:28)

7

8                    “Dear marc, Thank you for sending in Bloodborg: The Harvest and for giving me
9
      the opportunity to consider your work. Unfortunately, I am unable to offer you representation, as
10
      I did not feel the work was right for my list. I am sorry not to be writing with better news, but I
11
      hope this response will not discourage you and I wish you all the best with your writing. Best
12

13    wishes, Felicity Curtis Brown Group Ltd. Haymarket House 28-29 Haymarket London SW1Y

14    4SP http://www.curtisbrown.co.uk http://www.curtisbrowncreative.co.uk
15
      ________________________________ This message (including any attachments) contains
16
      confidential information intended for a specific individual and purpose, and is protected by law.
17
      If you are not the intended recipient, you should delete this message and are hereby notified that
18

19    any disclosure, copying, or distribution of this message, or the taking of any action based on it,

20    is strictly prohibited. Whilst we have taken reasonable precautions to ensure that this e-mail and
21
      any attachment has been checked for viruses, we cannot guarantee that they are virus free and
22
      we cannot accept liability for any damage sustained as a result of software viruses. We would
23
      advise that you carry out your own virus checks, especially before opening an attachment. Curtis
24

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27                                                      49
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                                                 #:600


1     Brown Group Limited. Registered in England and Wales No 00679620. Registered Office 5th
2
      Floor, Haymarket House, 28-29 Haymarket, LONDON SW1Y 4SP. “
3

4
                        D4- Riot’s connections- In 2019 & 2020, Riot Games were soliciting narrative
5
      and gaming content through their Riot forge portal. It was their private system and not
6

7     email which makes it harder to prove submission. In this period Riot were also soliciting

8     material from agents for Arcane. This is confirmed by both of the Arcane “Showrunners”
9
      in Bridging the Rift, The making of Arcane. Additionally, Riot has a close working
10
      relationship with many of the agencies which Bloodborg was submitted to.
11
                        Below is a brake down of Riot’s relationship with The United Talent Agency
12

13    (UTA) who owns The Curtis Brown Group.

14

15
                        UTA's Gaming & Esports department has been an industry leader in representing
16
      gamers, esports athletes, streamers, and gaming organizations. In 2018, UTA acquired two
17
      esports agencies, Press X and Everyday Influencers, to expand its presence in the gaming
18

19    industry.

20                      In 2019, UTA added Travis Mynard, formerly of Riot Games, to its esports
21
      management division. Mynard had experience working with Riot's North America League of
22
      Legends Championship Series (NA LCS) and the company's international League of Legends
23
      esports league.
24

25                      The United Talent Agency (UTA) acquired the Curtis Brown Group in June 2022.

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1                   Both UTA and Curtis Brown Group were involved with casting talent for Arcane.
2
      Between them, they cast both of the main roles and two of the other biggest roles, and perhaps
3
      more.
4
                    Hailee Steinfeld: Voices Vi in Arcane. Steinfeld is a client of UTA.
5

6                   Ella Purnell: Voices Jinx. Purnell is a client of Curtis Brown Group.

7                   Katie Leung: Voices Caitlyn Kiramman. Leung is represented by Curtis Brown
8
                    Harry Lloyd: Voices Viktor. Lloyd is represented by Curtis Brown Group.
9

10
                    These four characters represented by UTA and Curtis Brown Group received
11

12    significantly more screen time then most with Steinfeld, Purnell and Leung being the top three,

13    and Lloyd being the 5th most onscreen character.
14

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1                    This evidences relationships between Riot Games and the two linked agencies of
2
      UTA and Curtis Brown Group. This also evidences their involvement in Arcane.
3

4

5

6

7                    Exhibit E- Highlighting Ongoing Copyright Concerns.
8
                     Please note, Exhibit E has no bearing on this case at this time, but the Plaintiff is
9
      being transparent and forthcoming to show a history and pattern of some people who may or may
10
      not have been involved in the Plaintiff’s work (Bloodborg) being used to bail out the failing
11

12    show of Arcane… Allegedly.

13                   The Plaintiff will highlight Uk based complaints of alleged Copyright
14
      infringements of the M.W. Wolf catalogue of fiction, against Jonny Geller and Felicity Blunt of
15
      Curtis Brown Group, now a subsidiary of United Talent Agency (UTA). Many of these
16
      infringements are alleged to have also been sold to Netflix, where Arcane was distributed.
17

18                   Jonny Geller and Felicity Blunt were the two main agents the Plaintiff had been

19    trying to gain representation from since 2018. The Plaintiff had shared much work with them.
20
      The Plaintiff grew suspicious after time and time again his work, or elements of It seemingly
21
      ended up on shark tank writing room tables and was alleged to be cut up and fed into other
22
      shows. In 2021, The Plaintiff informed Jonny Geller of the alleged copyright infringement of
23

24    Arcane, partly to see how he would react. After monitoring, the other alleged infringements

25    continued.
26

27                                                    52
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1                    The Plaintiff wrote a book Called Bee My Agent, about a literary agent swiping
2
      and selling the slush pile of unsolicited aspiring writers’ works and about using synopsises to
3
      give to his “Pet Writers” to cut up and feed into their own books. Bee My Agent attempted a
4
      metanarrative, predicting that it would be misused and abused in the same manner… and it was.
5

6     With this book, the Plaintiff completed a writing course with Curtis Brown Creatives. On the

7     course he informed the other students of the suspected infringements, to warn them and to test
8
      the reactions of Jonny Geller. The plaintiff used X to highlight the misuse of his work and to
9
      show how agents are selling “Slush Pile” synopsises and manuscripts to big companies such as
10
      Netflix and Marvel, cutting out the aspiring writers and creating an industry in which over 90%
11

12    of books sell next to nothing.

13                   When Lisa Jewell released Breaking the Dark, it was clearly my work cut up and
14
      forced into a character of Marvels. I began to reveal to Jonny on X that I knew people had used
15
      my work. Around the same time, Curtis Brown Creatives tried to appease me with a 50 pound
16
      discount after winning a writing competition they ran. I was willing to settle quietly, but Lisa’s
17

18    reaction to my complaint was offish and rude.

19                   I have live copyright infringement concerns and complaints in the UK, which I
20
      have not yet officially open proceedings for, but the solicitors of Curtis Brown Group and by
21
      extension UTA have been informed and have not been very helpful.
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1                   Declaration
2
                    I, Marc Wolstenholme, declare under penalty of perjury under the laws of the
3
      United States of America that the foregoing is true and correct to the best of my knowledge and
4
      belief. I submit this declaration in support of PLAINTIFF’S SECOND AMENDED
5

6     COMPLAINT (SAC) and PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO

7     DISMISS- providing a detailed comparison of the alleged infringement of my original work,
8
      Bloodborg, by Riot Games, Inc.
9

10
                    The Plaintiff will file a number of attachments to add as evidance to support his
11

12    claim and to be added to court bundles of evidance.

13

14
                    These include, but not limited to:
15
                        1. PLAINTIFF’S MOTION IN LIMINE TO ADMIT EVIDENCE-
16
                            EPISODE 1
17

18                      2. DECLARATION OF MARC WOLSTENHOLME- Vi Vs Rook Overview

19                          Comparison
20
                        3. PLAINTIFF’S MOTION IN LIMINE TO ADMIT EVIDENCE- Neva,
21
                            Ambessa, and Mel Medarda, Ref Viktor
22
                        4. PLAINTIFF’S MOTION IN LIMINE TO ADMIT EVIDENCE- Psycho-
23

24                          Emotional Analysis

25

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1                    5. PLAINTIFF’S MOTION IN LIMINE TO ADMIT EVIDENCE- The two
2
                        Brothers
3
                     6. PLAINTIFF’S REQUEST FOR REMOTE APPEARANCE AT CASE
4
                        MANAGEMENT HEARING:
5

6                    7. PLAINTIFF’S MOTION IN LIMINE TO ADMIT EVIDENCE-

7                       Bloodborg Viktor and Warwick
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1     The Plaintiff, Marc Wolstenholme, M.W. Wolf.
2
      Date: JANUARY 29, 2025
3
      Signed:
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